   Case 3:17-cv-00072-NKM-JCH Document 289-1 Filed 03/27/18 Page 1 of 2 Pageid#: 2031




                                 IN THE UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF OHIO



         ELIZABETH SINES et al.                                          Case No. 3:17-cv-72

                          Plaintiffs                                     Judge MOON
                                                                         Mag. Judge HOPPE


                 -v-

         JASON KESSLER et al.


                           Defendants


                                         A
                                   DECLARTION OF MATT PARROTT


                 Mr. Matt Parrott, having been duly cautioned., declares and states as follows:




            1.         This declaration is based on personal know ledge.

            2.         I have, and have had for many years, physical control over the electronically stored
                       information of the Traditionalist Workers Party ("TWP"). This control is
                       authorized by the TWP.

            3.         Despite the recent public controversy concerning myself and one other member of
                       the TWP, my control over these records continues to be authorized by the TWP.

            4.         It is true that I have disabled the TWP internet presence for the time being.

            5.         It is not true that I have deleted or othe1wise concealed, nor tried to delete or
                       otherwise conceal, any electronically stored records of the TWP, including records
                       explicitly mentioned in the Plaintiff's motion for sanctions at DE 272.

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